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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

 SECURITIES AND EXCHANGE                          §
 COMMISSION,                                      §
                                                  §
                Plaintiff,                        §
                                                  §
 v.                                               §          No. 3:22-cv-2118-X
                                                  §
 TIMOTHY BARTON,                                  §
 CARNEGIE DEVELOPMENT, LLC,                       §
 WALL007, LLC,                                    §
 WALL009, LLC,                                    §
 WALL010, LLC,                                    §
 WALL011, LLC,                                    §
 WALL012, LLC,                                    §
 WALL016, LLC,                                    §
 WALL017, LLC,                                    §
 WALL018, LLC,                                    §
 WALL019, LLC,                                    §
 HAOQIANG FU (A/K/A MICHAEL FU),                  §
 STEPHEN T. WALL,                                 §
                                                  §
                Defendants,                       §
                                                  §
 DJD LAND PARTNERS, LLC, and                      §
 LDG001, LLC,                                     §
                                                  §
                Relief Defendants.                §

                    ORDER GRANTING RECEIVER’S MOTION
               FOR EXTENSION OF TIME TO FILE FOURTH, FIFTH,
         SIXTH, SEVENTH, AND EIGHTH QUARTERLY FEE APPLICATIONS

        Before the Court is the Receiver’s Unopposed Motion for Extension of Time to File Fourth,

 Fifth, Sixth, Seventh, and Eighth Quarterly Fee Applications. Having considered the Motion, the

 Court is of the opinion that it should be and hereby is GRANTED. Accordingly, the Receiver’s

 deadline to file his Fourth, Fifth, Sixth, Seventh, and Eighth Quarterly Fee Applications is hereby

 EXTENDED until February 14, 2025.
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       IT IS SO ORDERED this 2nd day of December, 2024.




                                             BRANTLEY STARR
                                             UNITED STATES DISTRICT JUDGE
